        Case 1:20-cv-11857-PBS Document 27 Filed 04/20/21 Page 1 of 1



                      UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF
                              MASSACHUSETTS


KRISTI VUKSANOVICH, ET AL

                    Plaintiffs,
v.                                                CIVIL ACTION NO.
                                                  1:20-cv-11857-PBS
AIRBUS AMERICAS, INC., ET
AL,
                     Defendants.



                            ORDER OF TRANSFER

SARIS, D.J

       In accordance with the Stipulation, dated April 16,

2021 (Dkt. No. 25), it is hereby ORDERED, that the above-

entitled action be transferred to the United States

District Court for the Southern District of New York.



4/20/2021                                           By the Court,
Date
                                                    /s/ Casey Baker
                                                    Deputy Clerk
